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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )               Civil Case No. 1:04-00798 (PLF/GMH)
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.,      )
                                      )
                   Defendants In Rem, )
                                      )

               [JOINT] MOTION FOR EXTENSION OF HEARING DATE

        Plaintiff, United States of America, by and through its undersigned attorneys, and

 Claimants Pavel Lazarenko, Ekaterina Lazarenko, and Lecia Lazazerenko (“Claimants”)

 respectfully move this Court, pursuant to Fed. R. Civ. P. 6(b)(1), for an extension of the

 September 3, 2019, hearing date to a date convenient for the Court and the parties.

        Pursuant to the Court’s Scheduling Order entered on July 11, 2019 (ECF No. 1185),

 the parties were to appear before the Court for a status conference on September 3, 2019.

 Given scheduling conflicts identified by counsel for the parties, the parties have conferred and

 would request that the hearing be moved to a date that is convenient for the Court and all

 parties. Counsel for the Government and the Claimants propose, subject to the Court’s

 availability, that the next status hearing be rescheduled for a date between October 1 and 4,

 2019, or on October 10 or 11, 2019.
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                                                 Respectfully submitted,




DEBORAH CONNOR
CHIEF, MONEY LAUNDERING
AND ASSET RECOVERY SECTION

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